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     A Limited Liability Partnership
 2   Including Professional Corporations
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 6
 7 Attorneys for Defendant
   JC RESORTS, LLC
 8
 9                                   UNITED STATES DISTRICT COURT
10                              SOUTHERN DISTRICT OF CALIFORNIA
11
12 JAMES RUTHERFORD, an individual,                 Case No.        '19CV665 BEN NLS
13                      Plaintiff,                  NOTICE OF REMOVAL OF ACTION
                                                    TO FEDERAL COURT UNDER 28
14           v.                                     U.S.C. § 1441(a)
15 JC RESORTS, LLC a Delaware limited               San Diego Superior Court Case No.:
   liability company; and DOES 1 through            37-2019-00010939-CU-CR-CTL
16 50 inclusive,
17                      Defendants.                 Action Filed:       February 27, 2019
                                                    Trial Date:         None Set
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     SMRH:489797019.1                           NOTICE OF REMOVAL OF ACTION TO FEDERAL COURT
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 1           TO THE CLERK OF THE UNITED STATES DISTRICT COURT,
 2 SOUTHERN DISTRICT OF CALIFORNIA:
 3           PLEASE TAKE NOTICE that defendant JC RESORTS, LLC a Delaware
 4 corporation (“Defendant”) hereby removes to this Court the state court action
 5 described below:
 6           I.         FILING AND SERVICE OF THE COMPLAINT.
 7           1.         On February 27, 2019, plaintiff JAMES RUTHERFORD (“Plaintiff”)
 8 commenced an action in the Superior Court of the State of California for the County
 9 of San Diego, Case Number 37-2019-00010939-CU-CR-CTL, by filing a Complaint
10 entitled “James Rutherford, an individual v. JC Resorts, LLC, a Delaware limited
11 liability company; and Does 1 through 50 inclusive”
12           2.         Defendant received a copy of the Summons and Complaint on March 5,
13 2019. True and correct copies of the Summons and Complaint and all other
14 documents are attached hereto as Exhibit “A”. Defendant has not yet responded to
15 the Complaint. To Defendant’s knowledge, no other defendant has been served or
16 named. See Salveson vs. Western States Bankcard Ass’n, 731 F.2d 1423, 1429 (9th
17 Cir. 1984) (defendant need not join in or consent to the notice of removal if the
18 nonjoining defendant has not been served with process in the state action at the time
19 the notice of removal is filed.).
20           II.        THIS COURT HAS FEDERAL QUESTION JURISDICTION.
21           3.         This action is a civil action for which this Court has original
22 jurisdiction pursuant to 28 U.S.C. § 1331 and is one which may be removed
23 pursuant to 28 U.S.C. § 1441(a) and 28 U.S.C. § 1443, in that it appears from the
24 Complaint that Plaintiff has filed a civil rights action, and his claims are founded on
25 a claim or right arising under the laws of the United States.
26           4.         More specifically, it appears from the Complaint that this is a civil
27 rights action alleging violations of the Americans with Disabilities Act, 42 U.S.C. §
28 12182 et seq. (Complaint ¶¶ 4, 9, 22-29).

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 1           III.       THIS NOTICE OF REMOVAL IS TIMELY AND PROPERLY
 2 FILED.
 3           5.         The filing of this Notice of Removal is filed within the time period
 4 required under 28 U.S.C. § 1446(a).
 5           6.         Defendant will give written notice of the filing of this Notice of
 6 Removal to all adverse parties as required by 28 U.S.C. § 1446(d) and will file a
 7 copy of this Notice of Removal within the law division of the Superior Court of
 8 California, County of San Diego, as further required by that Section.
 9           7.         Venue is proper in this Court because the action is being removed from
10 the Superior Court in the County of San Diego.
11           8.         The undersigned counsel for Defendant has read the foregoing and
12 signs the Notice of Removal pursuant to Rule 11 of the Federal Rules of Civil
13 Procedure, as required by 28 U.S.C. § 1446(a).
14           WHEREFORE, Defendant prays that the above action now pending against it
15 in the Superior Court of the County of San Diego be removed to this Court.
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     Dated: April 9, 2019
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                                          SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
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20                                        By                   /s/ Gregory F. Hurley
21                                                            GREGORY F. HURLEY

22                                                            Attorneys for Defendant
23                                                             JC RESORTS, LLC

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1                               CERTIFICATE OF SERVICE
2
             I, Gregory F. Hurley, hereby certify that on April 9, 2019, true and correct
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     copies of Defendant JC Resorts’ Notice of Removal was served upon all counsel of
4
5 record via the Court’s Electronic Case Filing system.
6
                                                           /s/ Gregory F. Hurley
7                                                     Gregory F. Hurley
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     SMRH:489797019.1                                                 CERTIFICATE OF SERVICE
